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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA ,
            Plaintiff,
                                                     No. 1:06-cr-107
-v-
                                                     HONORABLE PAUL L. MALONEY
PAUL JEFFERSON BRADDOCK,
             Defendant.


         ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION

       Defendant Braddock pled guilty to three counts of distributing crack cocaine. On December
23, 2008, this court sentenced Defendant to 120 months on each count, to be served concurrently.
Defendant has filed a motion for reconsideration. (Dkt. No. 72.) Defendant requests the court
reconsider his sentence based on legislation “being enacted by Congress and the United States
Sentencing Commission,” which would allegedly reduce the disparity in sentences for crimes
involving crack cocaine and powder cocaine.

        Defendant is not entitled to the relief sought. The Sentencing Guidelines were amended in
2007 to address the disparity between crack cocaine and powder cocaine penalties by reducing the
base offense level for a majority of crack offenses. In May 2008, the amendment to the Sentencing
Guideline was made retroactive. Accordingly, when Defendant was sentenced he received the full
benefit of the amendment, to the extent that the amendment was relevant to Defendant’s punishment.
Since then, this court is aware that bills have been introduced into Congress which would
legislatively reduce the disparity between crack and cocaine sentences. Defendant has not
established that any of those bills have been passed into law. This court is not aware of any recent
legislation, enacted by Congress, which would entitled Defendant to the relief he seeks. See United
States v. Thomas, No. 3:07cr299-1, 2010 WL 703057 (W.D.N.C. Feb. 25, 2010) (concluding “[t]he
Defendant is not entitled to any relief based on pending legislation” and noting that Fairness in
Cocaine Sentencing Act of 2007 was introduced to the House, but has not yet been enacted into
law.); United States v. Dixon, No. 3:08-00032, 2010 WL 342551 (S.D.W.Va. Jan. 28, 2010) (same).

    Therefore, Defendant’s motion for reconsideration (Dkt. No. 72) is DENIED. IT IS SO
ORDERED.

Date:   March 17, 2010                                          /s/ Paul L. Maloney
                                                             Paul L. Maloney
                                                             Chief, United States District Judge
